             Case 4:22-md-03047-YGR Document 357 Filed 08/29/23 Page 1 of 1



 1

 2                                                                    FILED
 3
                                                                        Aug 29 2023
 4

 5
                                                             CLERK, U.S. DISTRICT COURT
 6                                                        NORTHERN DISTRICT OF CALIFORNIA
 7                                                                SAN FRANCISCO

 8
                                 UNITED STATES DISTRICT COURT
 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION
10

11
      IN RE: SOCIAL MEDIA ADOLESCENT                             MDL No. 3047
12    ADDICTION/PERSONAL INJURY PRODUCTS
      LIABILITY LITIGATION                                       Case No. 4:22-md-03047-YGR
13
      THIS FILING RELATES TO:                                    Honorable Thomas S. Hixson
14
      ALL ACTIONS                                                [PROPOSED] ORDER GRANTING
15                                                               STIPULATED REQUEST TO CONTINUE
                                                                 FURTHER HEARING ON
16
                                                                 PRESERVATION ORDER
17          Pursuant to the parties’ stipulation, the August 29, 2023 hearing on the Parties’ disputes over
18   a preservation order is continued to September 22, 2023 at 1:00 PM.
19          PURSUANT TO STIPULATION, IT IS SO ORDERED.
20

21

22    DATED: August 29, 2023                                 ___________________________________
                                                             Hon. Thomas S. Hixson
23                                                           United States Magistrate Judge
24

25

26

27

28

                                                         1
           [PROPOSED] ORDER GRANTING STIPULATED REQUEST TO CONTINUE FURTHER HEARING ON PRESERVATION ORDER
                                                   4:22-md-03047-YGR
